 

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF INDIANA
HAMMOND DIVISION

IN THE MATTER OF: )

CHRISTOPHER ECHOLS

) Case No.: 22-20332
) Chapter 13
Debtor(s) )

OBJECTION TO U.S BANK NATIONAL ASSOCIATION’S NOTICE OF POST PETITION
MORTGAGE FEES, EXPENSES, AND CHARGES RELEVANT TO PROOF OF CLAIM

NO. 9
Debtor, by counsel, Christopher R. Schmidgall, hereby objects to Notice of Post-Petition

Mortgage Fees, Expenses, and Charges filed on August 19, 2022, by U.S. Bank National
Association (“Claimant”) and in support thereof respectfully asserts the following:

l.

That Debtor filed a Voluntary Petition for relief under Chapter 13 of the United States
Bankruptcy Code on March 15, 2022.

That on May 16, 2022, Claimant filed Proof of Claim, claim number 9, asserting a secured
claim in the amount of $247,705.04 based on a mortgage on the Debtors’ principal
residence. This claim was duly provided for in Debtor’s Chapter 13 Plan and is being paid
through the Chapter 13 Trustee.

On August 19, 2022, Claimant filed the subject Notice of Post-Petition Mortgage Fees
(“Notice of Fees”) in the amount of $1,750.00, wherein Claimant asserts they are due
$550.00 for “Attorney fees” and $1,200.00 for “Bankruptcy/Proof of claim fees: Proof of
Claim/Plan Review ($950) and 410A Prep ($250)”.

That said Notice of Fees lacks proof that the attorneys’ fees were actually incurred and that
they were reasonable. The party seeking attorneys’ fees under Rule 3002.1 “must properly
support the billed fees or charges asserted in bankruptcy proceedings.”

. That Debtor asserts that $1,750.00 is an excessive amount to claim for reviewing a Chapter

13 Plan and filing a Proof of claim in a consumer Bankruptcy case.

Wherefore, Debtor respectfully requests this Honorable Court deny Claimant’s Notice of

Post-petition Mortgage Fees, Expenses, and Charges and for all other just and proper relief as the
Court may allow.

Respectfully Submitted,
THELA ICE OF WE CHMIDGALL & HIRES

 

Christopher. R. Schmidgall
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CERTIFICATE OF SERVICE

The LAW OFFICES OF WEISS SCHMIDGALL & HIRES, attorney for Debtor(s), hereby
certify that a true and complete copy of the attached pleading was served upon the following
individuals on the 22nd day of August, 2022, by depositing a copy of same in the U.S. Mail, first
class postage affixed, or by electronic service where applicable.

Dated this 22nd day of August, 2022.

By: /s/ Christopher R. Schmidgall

Distribution:

U.S. Trustee: ustpregion10.so.ecf@usdoj.gov

Trustee Paul Chael: ECF@pchaell3.com

U.S. Bank National Association: c/o Molly S. Simons: 8415 Allison Pointe Blvd., Suite 400,
Indianapolis, IN 46250

U.S. Bank National Association: Attn Highest Ranking Officer or Agent: c/o Rushmore Loan
Management Services, P.O. Box 55004, Irvine, CA 92619-2708

 
